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                                        ORDERED.
 Dated: March 08, 2024




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:                                                         Case No.: 3:24-bk-00496-BAJ
                                                               Chapter 11
GENIE INVESTMENTS NV, INC.

                Debtors.


                ORDER AUTHORIZING EMPLOYMENT OF ATTORNEY

         This case was before the Court on March 7, 2024 upon the application of the debtor-in-

possession (Doc. No. 12) seeking authority to employ BRYAN K. MICKLER as Chapter 11

counsel. After a hearing, it is

         ORDERED

         1. The debtor-in-possession is authorized to employ, under general retainer, BRYAN K.

            MICKLER of the Law Offices of Mickler & Mickler, LLP, as attorney for the debtor

            and debtor-in-possession.

         2. The Debtor shall be authorized to pay the amount of $25,000.00 to the Trust Account

            of Law Offices of Mickler & Mickler, LLP from pre-petition funds;

         3. The attorney for the Debtor shall file a fee application for any amount sought to be
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          deducted from the trust account funds during the pendency of this Chapter 11 case;

      4. Compensation shall be determined later consistent with Section 330 of the Bankruptcy

          Code.



Attorney Bryan K. Mickler is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of the order.
